Case

LAW OFFICES OF
CRANDALL & Katt
366 ELM AVENUE, $.W.
ROANOKE, VIRGENIA 24016

 

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JUDSE BORSEY

COPY

VIRGINIA; IN THE CIRCUIT COURT FOR THE COUNTY OF ROANOKE

 

 

SANDRA TAYLOR, }
)
Plaintiff, )
)
)
v. } Case No.:_CL 1.99 1019
)
)
LOWE’S HOME CENTERS, LLC )
d/b/a Lowe’s }
)
Serve: Corporation Service Company }
Registered Agent }
100 Shockoe Slip, 2"! Floor )
Richmond, VA 23219 )
(City of Richmond) )
)
Defendant )
COMPLAINT

 

COMES NOW the plaimtiff, SANDRA TAYLOR (“plaintiff Taylor’), by counsel, and
respectfully moves this Court for judgment against the defendant, LOWE’S HOME
CENTERS, LLC, a Virginia Limited Liability Company, (“defendant Lowe’s), on the
grounds and in the amount as hereinafter set forth:

1. The defendant, LOWE’S HOME CENTERS, LLC., (d/b/a Lowe’s) isa
limited liability company organized and existing under the laws of the Commonwealth of
Virginia and is, upon information and belief, duly authorized to transact business in the

Commonwealth of Virginia.

 
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2. At all times alleged herein, defendant Lowe’s owned and operated a retail
hardware and home improvement store located generally at 4224 Valley Avenue, in the
County of Roanoke, Virginia. This facility is hereinafter referred to as “the Store.”

3. On or about August 11, 2016, at approximately 12:00 p.m., plaintiff Taylor
was an invitee at the Store. At the aforesaid date and time, plaintiff Taylor was on the outside
sidewalk of the Store walking towards the outdoor portion of the lawn section.

4, While walking towards the outdoor portion of the lawn section on the sidewalk
the plaintiff tripped and fell on a display of lawn pavers and fell head first into a cinder block
wall.

5, The pavers, which were similar in color to the sidewalk, created an elevated lip
above the sidewalk.

6, The pavers stuck out further than the items on display.

7. There were no identified or natural boundaries (ropes, signs, etc., ) around the
display.

8. The aforesaid existence of the pavers on the sidewalk of the Store constituted
an unsafe condition.

9. The defendant Lowe’s owed plaintiff Taylor a duty of reasonable care,
including, but not limited to:

a. A duty to maintain its premises in a reasonably safe condition; and/or,
b. A duty to discover an unsafe condition and to foresee injury therefrom;

and/or,

 

 
 

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c. A duty to correct unsafe conditions; and/or,
d. A duty to warn invitees of an unsafe condition.

10. The defendant Lowe’s knew, or in the exercise of ordinary care should have
known, that the aforesaid unsafe condition existed because the defendant created the unsafe
condition when it created the paver display.

11. Asa direct and proximate result of the negligence and breach of duties owed to
her by Lowe’s, plaintiff Taylor suffered severe bodily injuries; has suffered and will continue
to suffer inconvenience and pain of body and mind; has suffered permanent disfigurement;
and has incurred and will continue to incur hospital, doctor and related health care bills in an
effort to be cured of her injuries.

WHEREFORE, the plaintiff, SANDRA TAYLOR, by counsel, respectfully moves
this Court for judgment against the defendant, LOWE’S HOME CENTERS, LLC., in the

amount of SEVEN HUNDRED FIFTY THOUSAND DOLLARS ($750,000.00) in

compensatory damages, pre- and post-judgment interest, and the costs on her behalf expended.

A TRIAL BY JURY IS REQUESTED.

SANDRA TAYLOR

Lae

Of Counsel

 
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